On petition for writ of certiorari to the Court of Appeal of Louisiana, First Circuit. Petition for writ of certiorari granted. Judgment vacated, and case remanded to the Court of Appeal of Louisiana, First Circuit for further consideration in light of Ramos v. Louisiana , 590 U.S. --- (2020). Justice Alito, concurring in the decision to grant, vacate, and remand: In this and in all other case in which the Court grants, vacates, and remands in light of Ramos v.*2711Louisiana, I concur in the judgment on the understanding that the Court is not deciding or expressing a view on whether the question was properly raised below but is instead leaving that question to be decided on remand. Justice Thomas would deny the petition for a writ of certiorari.